
26 So.3d 728 (2010)
In re Jacob J. AMATO, Jr.
No. 2010-OB-0112.
Supreme Court of Louisiana.
January 27, 2010.

ORDER
The Office of Disciplinary Counsel ("ODC") commenced an investigation into allegations that respondent violated the Rules of Professional Conduct, the basis for which allegations is sworn testimony given by respondent before the United States Fifth Circuit Court of Appeals and the United States House of Representatives Committee on the Judiciary concerning the possible impeachment of Judge G. Thomas Porteous. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent's petition.
Having considered the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Jacob J. Amato, Jr., Louisiana Bar Roll number 2442, and the concurrence thereto filed by the ODC,
*729 IT IS ORDERED that the request of Jacob J. Amato, Jr. for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5 of the Rules of Professional Conduct.
IT IS FURTHER ORDERED that Jacob J. Amato, Jr. shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
/s/ Jeffrey P. Victory
Justice, Supreme Court of Louisiana
